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                                                     January 26, 2016

VIA ECF

Hon. Steven I. Locke
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Siancas v. Rallye Motors, et al., 14-cv-6151 (JS) (SIL)
               Response to Motion for Protective Order

Dear Judge Locke:

I represent the Plaintiffs in the above referenced FLSA matter.

As you are aware, this case involves allegations of joint employer liability against Rallye Motors.
It is specifically alleged that the Plaintiffs, who were formally employed by Exclusive Detailing,
Inc., are employed by Rallye for the purposes of the NYLL and the FLSA.

Ernie’s Auto Detailing is the successor to Exclusive Detailing. Upon information and belief,
many of the members of the putative collective and class are still employed at Rallye Motors,
albeit under the formal employ of Ernie’s Auto Detailing.

This continuity of employment is one reason why Ernie’s Auto Detailing was served with a
subpoena in November 2015. The deposition was originally noticed for December 16,
2015. Based upon requests from Ernie’s, we re-scheduled the deposition for January 26, 2016.

The Deposition date of January 26, 2016 has been known and agreed to by Ernie’s since
December 14, 2015. On Friday, January 22, 2016 Ernie’s Auto Detailing requested a further
adjournment on the basis that they had “recently” retained Jackson Lewis, who was unprepared
to proceed.

In light of the explicit direction by the Court that the parties appear by telephone, we advised all
parties that we would address the protective order via telephone today. Based upon my schedule,
it will be virtually impossible to complete the deposition of Ernie’s prior to the settlement
conference.
Letter toCase
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                Steven I. Locke, USMJ
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        That being said, at the very least, Plaintiffs request that Ernie’s be ordered to comply with the
        document production portion of the Subpoena WITHIN SEVEN (7) DAYS, which commanded
        that Ernie’s bring three categories of records to the deposition.

        Respectfully submitted,




        Steven John Moser

        Attachment: Subpoena
